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        IN THE UNITED STATES DISTRICT COURT FOR THE

                WESTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,     )
                              )
                 Plaintiff,   )
                              )
            -vs-              )            No. CR-21-298-R
                              )
LUIS CARLOS MAURICIO-MORALES, )
  a/k/a Carlos Morales,       )
                              )
                 Defendant.   )

  RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS




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                                      BACKGROUND

       Luis Carlos Mauricio-Morales, a citizen of Mexico, has been removed from the

United States on two occasions—in 2011 and 2015. (Docs. 15, 18.) He reentered the

United States again without receiving the consent of the Attorney General or the Secretary

of Homeland Security to apply for admission to the United States and was discovered on

or about October 9, 2021, within the Western District of Oklahoma. (Doc. 15.) The grand

jury returned an indictment, charging Mr. Mauricio-Morales with unlawfully reentering

the United States, in violation of 8 U.S.C. § 1326(a), on November 2, 2021. (Id.) On

December 1, 2021, Mr. Mauricio-Morales filed a motion to dismiss, alleging that § 1326

violates the equal protection component of the Fifth Amendment’s Due Process Clause

because it was enacted with a discriminatory purpose. (Doc. 18.)

       This Court should deny the motion for several reasons.         First, Section 1326

withstands rational basis scrutiny, which is the appropriate level of scrutiny for federal

immigration legislation, because securing the border is a legitimate governmental purpose

and imposing criminal penalties as a deterrent for those who repeatedly violate that law is

rationally related to that purpose.

       Second, even applying the framework of Village of Arlington Heights v.

Metropolitan Housing Development Corporation, 429 U.S. 252 (1977), Mr. Mauricio-

Morales fails to show that racial discrimination against Latinos was a motivating purpose

in enacting § 1326. To the contrary, historical records show that Congress aimed to quell

racial discrimination—not to further it. Because Mr. Mauricio-Morales cannot satisfy his



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burden of showing that racial discrimination was a motivating purpose of enacting § 1326,

he is not entitled to relief under the Arlington Heights framework, even if it applies.

        Finally, even if the burden shifted to the government, Congressional action since

the Immigration and Nationality Act of 1952, among other evidence, shows that Congress

would have enacted § 1326 without any allegedly racially discriminatory purpose.

                                        ARGUMENT

   I.          Rational Basis Review is the Appropriate Standard of Scrutiny to
               Apply to Mr. Mauricio-Morales’s Challenge to Section 1326.

        “At the outset, it is important to underscore the limited scope of judicial inquiry into

immigration legislation.” Fiallo v. Bell, 430 U.S. 787, 792 (1977); see Hampton v. Wong,

426 U.S. 88, 101 n.21 (1976) (“The power over aliens is of a political character and

therefore subject only to narrow judicial review.”); Fong v. United States, 149 U.S. 698,

713 (1893) (“The power to exclude or to expel aliens . . . is vested in the political

departments of the government, and is to be regulated by treaty or by act of congress, and

to be executed by the executive authority according to the regulations so established, except

so far as the judicial department has been authorized by treaty or statute, or is required by

the paramount law of the constitution, to intervene.”). “‘[O]ver no conceivable subject is

the legislative power of Congress more complete than it is over’ the admission of aliens.”

Fiallo, 430 U.S. at 792 (quoting Oceanic Steam Navigation Co. Ltd. v. Stranahan, 214 U.S.

320, 339 (1909)) (collecting cases).




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       Mr. Mauricio-Morales asserts that the framework set forth in Arlington Heights

governs review of § 1326. (Doc. 18.) Yet, he fails to address why Arlington Heights, and

not rational basis review, should apply in this context.

       The Tenth Circuit has explicitly stated that, “[w]hen Congress exercises [its]

power[] to legislate with regard to aliens, the proper standard of judicial review is rational-

basis review.” Soskin v. Reinertson, 353 F.3d 1242, 1255 (10th Cir. 2004). “The federal

government can treat aliens differently from citizens so long as the difference in treatment

has a rational basis.” Id. at 1254 (citing Mathews v. Diaz, 426 U.S. 67, 78–83 (1976)).

       Additionally, five of our sister circuits have applied rational basis review when

confronted with equal protection challenges to federal immigration legislation. See, e.g.,

Hernandez-Mancilla v. Holder, 633 F.3d 1182, 1185 (9th Cir. 2011); De Leon-Reynoso v.

Ashcroft, 293 F.3d 633, 638 (3d Cir. 2002); Moore v. Ashcroft, 251 F.3d 919, 921 (11th

Cir. 2001); Lara-Ruiz v. INS, 241 F.3d 934, 947 (7th Cir. 2001); Rojas-Rojas v. INS, 235

F.3d 115, 122 (2d Cir. 2000). So, too, have district courts—within this district as well as

across the country—applied rational basis review to such challenges; moreover, they have

done so when analyzing the specific challenge that Mr. Mauricio-Morales brings in this

case. See, e.g., United States v. Amador-Bonilla, No. CR-21-187-C, 2021 WL 5349103,

at *1 (W.D. Okla. Nov. 16, 2021); United States v. Novondo-Ceballos, No. CR-21-383-

RB, 2021 WL 3570229, at *3 (D.N.M. Aug. 12, 2021); United States v. Gutierrez-Barba,

No. CR-19-1224-PHX-DJH, 2021 WL 2138801, at *2, *5 (D. Ariz. May 25, 2021); United

States v. Palacios-Arias, No. 3:20-cr-62-JAG (E.D. Va. Oct. 13, 2020), appeal pending,

No. 21-4020 (4th Cir.). But see, e.g., United States v. Carrillo-Lopez, __ F. Supp. 3d __,

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2021 WL 3667330, at *2–3 (D. Nev. Aug. 18, 2021); United States. v. Machic-Xiap, __ F.

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Montano, No. 19-CR-2123-GPC, 2020 WL 7226441, at *1–2 (S.D. Cal. Dec. 8, 2020).

       Canvassing countervailing authorities, one rationale for rejecting rational basis

review relies on an alien defendant’s presence in the United States and concludes that,

accordingly, such a defendant is entitled to Fifth Amendment protections. See, e.g.,

Machic-Xiap, 2021 WL 3362738, at *9 (citing Zadvydas v. Davis, 533 U.S. 678, 693

(2001)). However, this reasoning misses the mark. Whether an alien defendant is entitled

to constitutional protections in a criminal proceeding is a separate issue from what standard

of review applies to a constitutional challenge to an immigration law. Indeed, the United

States agrees that any such defendant is protected by the Fifth Amendment’s guarantees.

See Wong Wing v. United States, 163 U.S. 228, 237 (1896) (demonstrating that criminal

prosecutions of immigration offenses are subject to constitutional limitations). The instant

issue is the level of scrutiny required in assessing an alien defendant’s constitutional

challenge. That standard is rational basis review. 1             See Amador-Bonilla, 2021 WL

5349103, at *1 (finding that “the rational basis standard is the appropriate level of review”).



1
  Courts have also relied on Department of Homeland Security v. Regents of the University of
California, 140 S. Ct. 1891 (2020) (plurality opinion), as a basis for rejecting rational basis review.
See, e.g., Carrillo-Lopez, 2021 WL 3667330, at *2. However, contrary to the Carrillo-Lopez
court’s statement that “a plurality of the United States Supreme Court declined to adopt the
standard advanced by the government in race-based equal protection challenges of immigration
decisions by the executive, . . . instead appl[ying] Arlington Heights,” id., the Supreme Court
assumed, without deciding, that Arlington Heights applied, Regents of the Univ. of Cal., 140 S. Ct.
at 1915. Accordingly, the Court’s holding did not encompass the appropriate standard of review.
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       Rational basis review is deferential toward governmental action. Seegmiller v.

LaVerkin City, 528 F.3d 762, 772 (10th Cir. 2008). “A statute is presumed constitutional,

and ‘the burden is on the one attacking the legislative arrangement to negative every

conceivable basis which might support it.’” Heller v. Doe, 509 U.S. 312, 320–21 (1993)

(quoting Lehnhausen v. Lake Shore Auto Parts Co., 410 U.S. 356, 364 (1973)) (cleaned

up); see Seegmiller, 528 F.3d at 772 (“The burden is on the plaintiff to show the

governmental act complained of does not further a legitimate state purpose by rational

means.” (citing Powers v. Harris, 379 F.3d 1208, 1215 (10th Cir. 2004))). An equal

protection claim will not survive rational basis review if there is “any reasonably

conceivable state of facts that could provide a rational basis for the classification.” FCC

v. Beach Commc’ns, Inc., 508 U.S. 307, 314 (1993) (collecting cases).

       Applying rational basis review, Mr. Mauricio-Morales’s motion must fail. The

Tenth Circuit has recognized the legitimate government interest underlying § 1326’s

enactment. United States v. Gutierrez-Gonzalez, 184 F.3d 1160, 1165 (10th Cir. 1999)

(“Congress has been faced with the increasingly difficult task of stemming the flood of

illegal immigration to this country.”). Section 1326 “is a regulatory statute enacted to assist

in the control of unlawful immigration by aliens.” United States v. Hernandez-Guerrero,

147 F.3d 1075, 1078 (9th Cir. 1998) (quoting Pena-Cabanillas v. United States, 394 F.2d

785, 788 (9th Cir. 1968), abrogated on other grounds by United States v. Gracidas-

Ulibarry, 231 F.3d 1188, 1190 (9th Cir. 2000) (en banc)).

       The [United States] has an interest in ensuring compliance with deportation
       orders and promoting respect for the country’s legal immigration process.
       This interest is achieved by deterring illegal reentry into the United States.

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          [It is] axiomatic that § 1326 rationally relates to that interest by sanctioning
          those who disregard a previous deportation order.

Novondo-Ceballos, 2021 WL 3570229, at *4; see id. (collecting cases). Because § 1326

is rationally related to a legitimate government interest, and Mr. Mauricio-Morales

cannot—and has not—shown otherwise, this Court should deny his motion to dismiss.

    II.          Even if the Arlington Heights Framework Applied to Mr. Mauricio-
                 Morales’s Challenge, his Motion to Dismiss Should be Denied.

          Applying Arlington Heights, Mr. Mauricio-Morales has the burden of

demonstrating: 1) disparate impact; and 2) that “a discriminatory purpose [was] a

motivating factor in the decision.” 429 U.S. at 265–66. If Mr. Mauricio-Morales can make

this showing, then the burden shifts to the United States to “establish[] that the same

decision would have resulted even had the impermissible purpose not been considered.”

Id. at 270 n.21. Not only would Congress have enacted § 1326 without the discriminatory

purpose alleged, but Mr. Mauricio-Morales also fails to establish that Congress was

motivated by such a factor. Accordingly, Mr. Mauricio-Morales’s motion should be

denied.

             a. Mr. Mauricio-Morales Fails to Carry his Burden Under Arlington
                Heights.

          As Mr. Mauricio-Morales contends, § 1326 likely disparately impacts Latinos more

than any other group. 2 (Doc. 18.) However, this impact on Latinos “is more readily


2
  Mr. Mauricio-Morales does not clearly address disparate impact; rather, he devotes one sentence
to this point. (See Doc. 18 (“The 1952 Congress had full knowledge of the unlawful reentry
statute’s disparate impact, as Mexicans comprised up to 99% of the tens of thousands of individuals
prosecuted and convicted in the years following the law’s passage.”).) Otherwise, he appears to
rely on the exhibits attached to his motion to speak to this issue.
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explained by the geographic proximity of the border to Mexico and Latin America than by

racial animus.” United States v. Morales-Roblero, No. 3:19-mj-24442-AHG, 2020 WL

5517594, at *10 (S.D. Cal. Sept. 14, 2020) (analyzing § 1325). Furthermore, “official

action [is] not held unconstitutional solely because it results in a racially disproportionate

impact.” Arlington Heights, 429 U.S. at 264–65 (citing Washington v. Davis, 426 U.S.

229, 239 (1976)). “Were this [] sufficient to state a claim, virtually any generally applicable

immigration policy could be challenged on equal protection grounds.” Dep’t of Homeland

Sec. v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1916 (2020); see id. (“[B]ecause

Latinos make up a large share of the unauthorized alien population, one would expect them

to make up an outsized share of recipients of any cross-cutting immigration relief

program.”). Thus, “the intent test requires additional evidence of an invidious motive

before finding [a] law unconstitutional[,]” Wence, 2021 WL 2463567, at *10, especially

given that immigration policies are often “plausibly explained on a neutral ground,”

Personnel Adm’r of Mass. v. Feeney, 442 U.S. 256, 275 (1979).

       In determining whether discriminatory intent was a motivating factor in

governmental action, courts look to (1) “[t]he historical background of the decision,” (2)

“[t]he specific sequence of events leading up to the challenged decision,” (3) “[d]epartures

from the normal procedural sequence” or “[s]ubstantive departures” from “the factors

usually considered important by the decisionmaker,” (4) whether the effect of the action

“bears more heavily on one race than another,” and (5) the legislative history of the statute.

Id. at 266–68. Although Mr. Mauricio-Morales makes much of the Undesirable Aliens Act

of 1929, Pub. L. 70-1018, 45 Stat. 1551 (1929), the appropriate decision for review is the

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Immigration and Nationality Act of 1952 (“INA”), Pub. L. 82-414, § 276, 66 Stat. 163, 229

(1952). 3

       “The historical background of the decision is one evidentiary source” of intent.

Arlington Heights, 429 U.S. at 267 (collecting cases). But, “unless historical evidence is

reasonably contemporaneous with the challenged [action], it has little probative value.”

McCleskey v. Kemp, 481 U.S. 279, 298 n.20 (1987).

       In his motion to dismiss, Mr. Mauricio-Morales describes at length the historical

background of legislation enacted in the 1920s that served as precursors to § 1326’s

unlawful reentry provision. (Doc. 18.) He cites portions of the legislation and comments

made on the floor of Congress, alleging that each reflects a palpable aversion to Mexican

immigration to the United States. (Id.) However, his focus on the history of these Acts

undermines his argument. Accepting arguendo his contentions that these precursors were

tainted with racial discrimination, Congress repealed these prior Acts when it enacted the

INA. See INA, § 403(a)(23), (30), 66 Stat. at 279. Thus, this aspect of the INA’s historical

background suggests that Congress repudiated the very attitudes that Mr. Mauricio-

Morales contends underlie the INA.




3
 Judge Cauthron addressed this point unequivocally when confronted by an identical motion to
Mr. Mauricio-Morales’s motion:
      The primary flaw in Defendant’s argument is his focus on the 1929 Act. As [the
      United States] notes, the first step in applying Arlington Heights is to identify what
      decision maker and decision is being reviewed. When that analysis is undertaken[,]
      it is clear that [the United States] is correct in noting that the Court’s review should
      focus on the [INA].
Amador-Bonilla, 2021 WL 5349103, at *2.
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       Furthermore, an analysis of this legislation from the 1920s does not suggest that

Congress acted with a discriminatory purpose toward Latinos in passing this legislation.

For example, the 1924 Act treated immigrants from Mexico and independent countries in

Central and South America more favorably than those coming from other countries because

it did not limit the number of persons from Mexico, Central America, or South America

who could enter the United States. See Act of May 26, 1924, 68 Cong. Ch. 190, § 4(c), 43

Stat. 153, 155. Additionally, the 1929 Act, which incorporated a memorandum from the

Labor Department and a letter from the Secretary of Labor, see Act of March 4, 1929, 70

Cong. Ch. 690, 45 Stat. 1551, expressed concern with aliens who had been “deported four

or five times, only to return as soon as possible to the United States in an unlawful manner.”

(Doc. 18.) The letter then explained that a significant number of “the aliens who [were]

required to be deported enter as seamen,” which suggests that those aliens were not entering

through Mexico or Canada—and does not indicate these aliens were Latinos. (Doc. 18.)

In any event, as mentioned supra, the probative value of the historical background of this

legislation, including the accompanying record, is limited because it is remote in time to

the INA. McCleskey, 481 U.S. at 298 n.20.

       Mr. Mauricio-Morales also cites the Act of March 20, 1952, 82 Cong. Ch. 108, 66

Stat. 26. As Mr. Mauricio-Morales argues, debate surrounding the 1952 Act often involved

the use of the term, “wetback.” (See, e.g., Ex. 1 [98 Cong. Rec. 791–93].) The term itself

is undeniably degrading, see Vigil v. City of Las Cruces, 119 F.3d 871, 874 (10th Cir. 1997)

(Lucero, J., dissenting from denial of rehearing en banc), but it refers to illegal immigrants

from Mexico—not to Latinos who were in the United States lawfully, see, e.g., United

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States v. Alamosa Cnty., 306 F. Supp. 2d 1016, 1020 n.11 (D. Colo. 2004) (“[T]he term

‘wetback’ refers to illegal Mexican immigrants rather than to local Hispanic residents.”). 4

       This distinction is further evinced by Senator Dennis Chavez’s use of the term.

Senator Chavez was the first Hispanic person elected to the United States Senate for a full

term. (Ex. 2 at 1.) “[A] strong defender of civil rights,” Senator Chavez was known for

“not [being] afraid to bring the ‘race’ issue into elections and politics.” (Ex. 3 at 2.) Thus,

it stands to reason that Senator Chavez would not have used the term himself if it were a

derogatory term for Latinos. As a result, these uses of the term “wetback” do not support

a finding that the historical background reflects a discriminatory purpose toward Latinos,

despite the term’s unsavory connotations, because the term did not encompass Latinos who

were lawful residents. 5 See Soskin, 353 F.3d at 1254 (“The federal government can treat

aliens differently from citizens so long as the difference in treatment has a rational basis.”).

       Additionally, the 1952 Act begins with the Agreement Between the United States

of America and Mexico Representing the Temporary Migration of Mexican Agricultural

Workers, 56 Stat. 1759, 1942 WL 35711 (Aug. 4, 1942), which was designed to “ensur[e]

decent wages and humane treatment for the laborers.” (Doc. 18.) Although he cites the


4
 President Truman’s Special Message to the Congress on the Employment of Agricultural
Workers from Mexico appeared to recognize this definition of “wetback” as well. (Ex. 4 at 2.)
5
  Furthermore, the statements made during floor debates should be given minimal weight. Mr.
Mauricio-Morales essentially asks this Court to take statements by a handful of representatives
and to impute their views on Congress as the reasons that these immigration laws were enacted.
But, it has long been established that courts should decline to void a statute, which is constitutional
on its face, solely on the basis of several Congressmen’s statements. United States v. O’Brien, 391
U.S. 367, 384 (1968); id. (“What motivates one legislator to make a speech about a statute is not
necessarily what motivates scores of others to enact it, and the stakes are sufficiently high for us
to eschew guesswork.”).
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Agreement in his motion, Mr. Mauricio-Morales overlooks the substance of the agreement

between the United States and Mexico, focusing instead on how it was carried out; but, he

focuses on the wrong inquiry. The relevant issue is the substance of Congress’ intent in

enacting the legislation—the failure of another party to carry out Congress’ goals to treat

Mexican immigrants well does not bear on Congress’ intent. Thus, contrary to Mr.

Mauricio-Morales’s contention, the historical background of the INA does not clearly

demonstrate that Congress was motivated by a discriminatory purpose toward Latinos

when it enacted the INA.

       In the years preceding the enactment of the INA, the Senate Judiciary Committee

authorized a subcommittee to complete an investigation of the United States’ immigration

system. (Ex. 6 at 2.) That subcommittee reported that the United States’ immigration laws

needed to be consolidated and replaced by a single bill, and its report highlighted concerns

about any racial discrimination that had been involved in previous immigration laws. (Id.)

       The report was unequivocal in its findings, indicating a significant desire for racial

equality and an inertia toward the removal of pre-existing racial barriers. (See Ex. 6 at 12

(“The evidence and testimony presented to the subcommittee are overwhelmingly in favor

of the removal of racial bars to naturalization.”); id. (“The arguments which obtain for

lifting racial bars to immigration apply with equal force to naturalization.”); id. (“Removal

of racial barriers to immigration and naturalization has much to recommend it from the

standpoint of improved international relations and prestige.”).) The subcommittee’s report

further noted that “[these] actions would greatly strengthen international good will by



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demonstrating that we practice what we preach in the matter of equality of individuals and

races.” (Id.)

       These concerns are directly reflected in the INA. See, e.g., INA, § 311, 66 Stat. at

239 (“The right of a person to become a naturalized citizen of the United States shall not

be denied or abridged because of race[.]”). Thus, the events leading up to the enactment

of the INA show that Congress was concerned with ending racial discrimination, rather

than fostering it.

       The legislative history of the INA further suggests that Congress sought to end racial

discrimination in passing the Act, despite the controversy that arose in the process of

passing the Act. When the INA arrived on President Truman’s desk, he vetoed the bill

because, although it removed the total bar on immigration from Asian countries, it

maintained a national origin quota system for Asian countries. Id. § 201(a), 66 Stat. at 239.

This is widely speculated to be what prompted President Truman to claim that the

“legislation . . . would perpetuate injustices of long standing.” (Doc. 18.)

       But, there is plenty of evidence to suggest that Congress overrode President

Truman’s veto in an attempt to remove racial barriers to immigration. Although several

senators made racially inappropriate statements during the debate immediately preceding

the veto, see Wence, 2021 WL 2463567, at *7 (citing 82 Cong. Rec. 8116 (June 26, 1952)),

other congressmen highlighted “many good and desirable provisions of the bill,” id. (citing

82 Cong. Rec. 8215 (June 26, 1952)). See 82 Cong. Rec. 8218 (June 26, 1952) (submitting

that President Truman’s veto kept statutes as they were, “with hundreds of millions of

people . . . still outlawed because of the color or the pigment of their skin”). And, just as

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the report issued by the subcommittee for the Senate Judiciary Committee reflected a desire

to set an example on the international stage, members of Congress similarly wanted to

“make clear . . . that the representatives of the people of the United States believe in trying

to correct things that are inequitable [and in] improv[ing] relations between [the United

States] and all the peoples in the world who want to be free[.]” 82 Cong. Rec. 8218 (June

26, 1952).

       Therefore, the legislative history of the INA does not favor a finding that Congress

was motivated by a discriminatory purpose. Although the INA did “not remove all the

inequities in existing law, . . . it [did] remove a great many[.]” 82 Cong. Rec. 8347 (June

27, 1952); see Wence, 2021 WL 2463567, at *9 (“[A] review of the legislative history

reveals a balancing of valid immigration considerations such as providing support for

Latinx immigrants displaced by violence while protecting the health and safety of the

nation.”).

       Finally, nothing about the procedural process of enacting § 1326—from the

subcommittee report to the veto and its subsequent override—indicates that Congress was

motivated by a discriminatory purpose.         As discussed supra, “the INA followed a

comprehensive review of the entire panoply of the nation’s immigration laws. Congress

passed the INA after study by committee and significant debate.” Machic-Xiap, 2021 WL

3362738, at *14. Furthermore, Mr. Mauricio-Morales fails to identify any deviations

Congress made from procedural norms when it enacted § 1326. Thus, this factor also

weighs against a determination that a discriminatory purpose was a motivating factor in

enacting § 1326. As Mr. Mauricio-Morales has not shown that the historical background

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of the INA, its legislative and procedural history, or the events leading up to its enactment

evince that Congress was motivated by a discriminatory purpose, he fails to satisfy his

burden under the Arlington Heights framework. Accordingly, his motion should be

denied. 6

            b. Even if Mr. Mauricio-Morales Could Satisfy his Burden Under
               Arlington Heights, the Evidence Shows That Congress Would Have
               Enacted § 1326 Without a Discriminatory Motivation.

       If Mr. Mauricio-Morales could demonstrate that Congress was motivated by a

discriminatory purpose in enacting § 1326, the United States would have to “establish that

the same decision would have resulted even had the impermissible purpose not been

considered.” Arlington Heights, 429 U.S. at 270 n.21; see id. (“Motivat[ion] in part by a

racially discriminatory purpose [does] not necessarily . . . require[] invalidation of the

challenged decision.”). The United States can do so.

       A survey of Congressional action demonstrates that Congress would have enacted

§ 1326 without a discriminatory purpose.             To begin with, Congress enacted the

Immigration and Nationality Act of 1965, Pub. L. 89-236, 79 Stat. 911 (1965), in response

to the Commission on Immigration and Naturalization established by President Truman

following passage of the INA.          (See Ex. 5.)      The 1965 Act explicitly precluded

discrimination based on race in the issuance of immigrant visas, see id. § 2, 79 Stat. at 911,


6
  Under the Arlington Heights framework, “the impact of the [enactment of § 1326] and whether
it bears more heavily on one race than another” appears to be both a factor to consider in
determining whether Congress was motivated by a discriminatory purpose, as well as the crux of
the disparate impact inquiry, which is a distinct and antecedent question to whether Congress was
motivated by a discriminatory intent. In any event, the United States addresses § 1326’s impact at
the outset of the analysis of Mr. Mauricio-Morales’s claim under the Arlington Heights framework.
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and abolished the national origin quota system, see id. § 1, 79 Stat at 911, the latter of

which had been a component of the INA. Yet, in doing so, Congress did not repeal § 1326.

This suggests that Congress believed § 1326 was necessary and appropriate despite any

possibility that racial discrimination was a motivating factor behind the INA.

       In addition, Congress enacted the Immigration Reform and Control Act of 1986

(“IRCA”), Pub. L. 99-603, 100 Stat. 3359 (1986), in an attempt to bolster criminal penalties

for those who transport aliens across the border illegally and for businesses that make a

pattern or practice of hiring illegal aliens. See id. § 101(f), 100 Stat. at 3367–68; id.

§ 112(a), 100 Stat. at 3382. These penalties reinforced existing immigration laws, such as

§ 1326, rather than loosening restrictions on illegal immigration. By supplementing these

laws, Congress expressed acceptance of § 1326 and the other immigration statutes then in

effect. See id. § 115, 100 Stat. at 3384 (“[T]he immigration laws of the United States

should be enforced vigorously and uniformly.”).

       Furthermore, the IRCA was enacted without a discriminatory purpose. It provided

a pathway for illegal aliens to legalize their statuses, see id. § 201, 100 Stat. at 3394–3404,

and expressly prohibited discrimination based on race, see id. §§ 121(b)(6), 204(h), 100

Stat. at 3391, 3409–10.       Moreover, many illegal aliens, “an estimated 3 million

individuals—mostly of Hispanic descent,” utilized this avenue to obtain legal status in the

United States, which demonstrates that the IRCA’s guarantees were not merely

Congressional lip service. (See Ex. 7 at 2.) Thus, the reaffirmance of § 1326 that Congress

expressed when it enacted the IRCA was not grounded in a discriminatory purpose either.



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       Finally, Congress has considered and modified § 1326 itself, rather than repealing

it. See Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”), Pub. L. 104-

132, §§ 401(c), 438(b), 441(a), 110 Stat. 1214 (1996); Illegal Immigration Reform and

Immigrant Responsibility Act of 1996, Pub. L. 104-208, Div. C. §§ 305(b), 308(d)(4)(J),

308(e)(1)(K), 308(e)(14), 324(a), 110 Stat. 3009 (1996); Violent Crime Control and Law

Enforcement Act of 1994, Pub. L. 103-322, § 130001(b), 108 Stat. 1796 (1994);

Immigration Act of 1990, Pub. L. 101-649, § 543(b)(3), 104 Stat. 4978 (1990); Anti-Drug

Abuse Act of 1988, Pub. L. 100-690, § 7345, 102 Stat. 4181 (1988). This plainly

demonstrates that Congress would have enacted § 1326 without a discriminatory purpose,

given that Congress has had many opportunities to remove § 1326 from the books and has

chosen—time and time again—to retain it. 7 Accordingly, even if this Court finds that the

Arlington Heights framework applies and that Mr. Mauricio-Morales has shown that

§ 1326 was enacted with a discriminatory purpose, this Court should deny the motion

because Congress would have enacted § 1326 even without a discriminatory purpose. 8




7
 Public polls also suggest that Congress would enact § 1326 today without any discriminatory
motivation. (See Ex. 9 (examining a poll conduct by Marist College and commissioned by
National Public Radio and PBS NewsHour, which reflected that 66% of adults believed it would
be a bad idea to decriminalize illegal border crossings and 27% of adults believed it would be a
good idea to decriminalize illegal border crossings).)
8
  It also bears mentioning that the criminalization of unlawful entry or reentry to a nation is a
standard practice for many countries across the world. As of August 2019, at least 124 countries
treated illegal entry as a crime. (See Ex. 8 at 3 (including France, Germany, Italy, Japan, the United
Kingdom, Canada, Russia, China, India, Honduras, Chile, and Haiti).) This further supports the
notion that the United States would have adopted § 1326 free of any alleged racial motivation, as
many countries have concluded that it is prudent to criminalize unauthorized entry and/or reentry
without any indications that racial discrimination against Latinos played a factor in those decisions.
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                                     CONCLUSION

       The criminal enforcement of illegal reentry to the United States, pursuant to § 1326,

is rationally related to the government’s legitimate interest in maintaining respect for our

immigration process and controlling unlawful immigration. This Court should deny Mr.

Mauricio-Morales’s motion to dismiss the indictment on this basis alone. However, even

if this Court applies the Arlington Heights framework, Mr. Mauricio-Morales fails to

demonstrate that racial discrimination was a motivating purpose in enacting § 1326, and

the United States has shown that Congress would have still enacted § 1326 without any

such discriminatory purpose. Accordingly, Mr. Mauricio-Morales’s motion should be

denied.

                                                 Respectfully submitted,

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                             CERTIFICATE OF SERVICE

       I hereby certify that on December 27, 2021, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing and transmittal of a Notice
of Electronic Filing to the following ECF registrants: Julia Summers, counsel for Luis
Carlos Mauricio-Morales.


                                              s/Elizabeth Joynes
                                              Assistant United States Attorney




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